Case 1:19-cv-00810-RBW Document 132-1 Filed 10/08/20 Page 1 of 3




            Group Exhibit A
10/8/2020                Case
                      Donald       1:19-cv-00810-RBW
                             J. Trump                                 Document
                                      on Twitter: "I have fully authorized             132-1 Filed
                                                                           the total Declassification of any10/08/20      Pagepertaining
                                                                                                            &amp; all documents 2 of 3to the single greatest…

                                                     Tweet                                                                                  Search Twitter


            Home                                     Donald J. Trump
                                                                                                                                      Relevant people
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            Explore                                                                                                                              Donald J. Trump
                                            I have fully authorized the total Declassification of any                                            @realDonaldTrump
            Notifications                   & all documents pertaining to the single greatest                                                    45th President of th
                                                                                                                                                 America
                                            political CRIME in American History, the Russia Hoax.
            Messages
                                            Likewise, the Hillary Clinton Email Scandal. No                                                      Paul Sperry
                                                                                                                                                 @paulsperry_
            Bookmarks                       redactions!                                                                                          Former D.C. bureau
                                                                                                                                                 Business Daily, Hoov
            Lists                                Paul Sperry @paulsperry_ · Oct 5                                                                media fellow, autho
                                             When all the documents are finally declassified, and all the redactions removed                     including bestseller
            Profile                          from reports, the nation will see that the FBI and CIA not only knew the Russia
                                             "collusion" allegations against Trump were a political dirty trick, but that they were
                                             in on the trick                                                                          What’s happening
            More
                                            7:41 PM · Oct 6, 2020 · Twitter for iPhone                                                News · 1 hour ago

                Tweet                                                                                                                 FBI thwarted a plot to kidn
                                                                                                                                      Michigan Gov. Gretchen W
                                             88.9K Retweets     18.7K Quote Tweets       238.1K Likes
                                                                                                                                      Trending with Terrorists, Wolverin
                                                                                                                                      Watchmen


                                                                                                                                      #CharmCityKings
                                                     CJTRUTH @cjtruth · Oct 6                                                         Life at a Crossroad. Stream N
                                                     Replying to @realDonaldTrump                                                        Promoted by HBO Max
                                                     RED OCTOBER
                                                                                                                                      Entertainment · Trending
                                                                                                                                      Doctor Strange
                                                                                                                                      6,232 Tweets


                                                                                                                                      US elections · This morning
                                                                                                                                      Trump says he will not part
                                                                                                                                      in a virtual debate and Bide
                                                                                                                                      campaign rejects Trump’s
                                                                                                                                      proposal to move third deb
                                                                                                                                      Trending with #ChickenTrump


                                                                                                                                      Trending in Illinois
                                                                                                                                      Heidi
                                                                                                                                      8,412 Tweets

                                                         57                  734                   2.6K
                                                                                                                                      Show more
                                                     Mrs. Krassenstein @HKrassenstein · Oct 6
                                                     Replying to @realDonaldTrump                                                     Terms of Service Privacy Policy
                                                     So 4 weeks before the election you expect Americans to believe Joe Biden
                                                                                                                                      Ads info More          © 2020 Twitte
                                                     did something wrong years ago, just because Republicans say so? Americans
                                                     aren’t that stupid. Joe Biden is as clean as a whistle.
                                                         3.2K                 1.1K                  9.3K


                                                     Mrs. Krassenstein @HKrassenstein · Oct 6
                                                     Hmm... 2016 an FBI investigation cost Hillary the election, so Trump is trying
                                                     to convince the FBI to do the same thing to Biden in 2020. Not this time!
                                                         599                  731                  5.5K


                                                     Show replies

                                                     Carmine Sabia      @CarmineSabia · Oct 6
                                                     Replying to @realDonaldTrump
                                                     The Boss is back. The truth shall be known. James Comey, Rod Rosenstein,
                                                     James Clapper and John Brennan better start booking flights.
                                                         67                   139                   1K


            Blake Bunting                            𝖕ɐɯ 𝖘 ı 𝖕𝖑 ɹ𝖔 ʍ ǝɥʇ/my new hairdo was a setup         @Beatrice… · Oct 6
            @bunting_blake                           Replying to @realDonaldTrump


https://twitter.com/realDonaldTrump/status/1313640512025513984                                                                                                       1/4
10/8/2020                Case
                      Donald       1:19-cv-00810-RBW
                             J. Trump                              Document
                                      on Twitter: "All Russia Hoax Scandal         132-1
                                                                           information       Filed 10/08/20
                                                                                       was Declassified              Page
                                                                                                        by me long ago.        3 of 3for our Country, peopl…
                                                                                                                        Unfortunately


                                                     Tweet                                                                              Search Twitter


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                                                                                                                                  Relevant people
                                                     @realDonaldTrump
            Explore                                                                                                                          Donald J. Trump
                                            All Russia Hoax Scandal information was Declassified by                                          @realDonaldTrump
            Notifications                   me long ago. Unfortunately for our Country, people                                               45th President of th
                                                                                                                                             America
                                            have acted very slowly, especially since it is perhaps the
            Messages
                                            biggest political crime in the history of our Country.
                                                                                                                                  What’s happening
            Bookmarks                       Act!!!
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                                            8:21 PM · Oct 6, 2020 · Twitter for iPhone
            Lists                                                                                                                 FBI thwarted a plot to kidn
                                                                                                                                  Michigan Gov. Gretchen W
            Profile                         45.9K Retweets     2.5K Quote Tweets         161.2K Likes                             Trending with Terrorists, Michigan


            More                                                                                                                  #CharmCityKings
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                                                     Parry Headrick     @pheadrick · Oct 6                                           Promoted by HBO Max
                Tweet                                Replying to @realDonaldTrump
                                                                                                                                  Trending in Illinois
                                                                                                                                  Heidi
                                                                                                                                  8,332 Tweets


                                                                                                                                  US elections · LIVE
                                                                                                                                  Illinois: Election news and
                                                                                                                                  updates


                                                                                                                                  Trending in United States
                                                                                                                                  Wolverine Watchmen
                                                                                                                                  3,388 Tweets


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                                                     VanillaGorilla @Van1llaGorilla · Oct 6
                                                     Replying to @realDonaldTrump




                                                         5                    23                    89


                                                     oregon4TRUMP @shawgerald4 · Oct 6
                                                     Replying to @realDonaldTrump
                                                     November 3rd




            Blake Bunting
            @bunting_blake


https://twitter.com/realDonaldTrump/status/1313650640699224069                                                                                                   1/3
